       Case 2:24-cv-02527-JAM-CKD          Document 47-29   Filed 03/07/25   Page 1 of 7


1    Theodore H. Frank (SBN 196332)
     Adam E. Schulman (admitted pro hac vice)
2    HAMILTON LINCOLN LAW INSTITUTE
3    1629 K Street NW, Suite 300
     Washington, DC 20006
4    Voice: 610-457-0856
     Email: adam.schulman@hlli.org
5

6    Attorneys for Plaintiff Christopher Kohls

7
                              UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    Christoper Kohls,                             Case No. 2:24-cv-02527-JAM-CKD

11                                Plaintiff,        Declaration of Christopher Kohls in
      v.                                            Support of Plaintiffs’ Motion for
12                                                  Summary Judgment
13    Rob Bonta, et al.,
                                                    Judge: John A. Mendez
14                                Defendants.
15

16    The Babylon Bee, LLC, et al.                  Case No. 2:24-cv-02787-JAM-CKD

17                                Plaintiffs,
      v.
18

19    Rob Bonta, et al.

20                                Defendants.
21

22    Rumble, Inc., et al.,                         Case No. 2:24-v-03315-JAM-CKD

23                             Plaintiffs,
24
      v.
25
      Rob Bonta, et al.
26
                                  Defendants.
27

28
     Decl. of Christopher Kohls
       Case 2:24-cv-02527-JAM-CKD         Document 47-29   Filed 03/07/25   Page 2 of 7


1
      X Corp.,                                      Case No. 2:24-cv-03162-JAM-CKD
2
                             Plaintiff,
3
      v.
4

5
      Rob Bonta, et al.
6
                                  Defendants.
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
     Decl. of Christopher Kohls
       Case 2:24-cv-02527-JAM-CKD        Document 47-29      Filed 03/07/25    Page 3 of 7


1                        DECLARATION OF CHRISTOPHER KOHLS

2          I, Christopher Kohls, declare as follows:

3          1.     I have personal knowledge of the facts set forth herein and, if called as a

4    witness, could and would testify competently thereto.

5          2.     I am the plaintiff in the first-filed case in this consolidated action, No. 24-cv-

6    02527.

7          3.     I verified the personal allegations of my complaint, concerning myself, my

8    activities, and my intention under penalty of perjury. Kohls Complaint, Dkt. 1 at 37

9          4.     Those averments remain true today. I submit this declaration to expand on

10   and supplement those averments as to my activities and intentions.

11         5.     As attested in my verified complaint, I created and operate the

12   @MrReaganUSA X account and “Mr Reagan” YouTube and Facebook accounts, where I

13   regularly publish political content that I have created.

14         6.     I also created and operate the “MrReagan” account on Rumble, which I

15   started in 2020, where I post the same type of content as on the other platforms. I

16   currently have about 10,000 followers on Rumble. As with YouTube and X (formerly

17   Twitter), my Rumble account is monetized.

18         7.     On the YouTube and X accounts referenced in paragraph 5 above, I have

19   been posting political commentary since 2018. On my Facebook channel, I have been

20   posting political commentary since 2019.

21         8.     As I explain in my complaint, many of the political videos that I create and

22   post on social media and video-sharing platforms lampoon political figures and

23   candidates, sometimes in the manner of political ad parodies.

24         9.     For one example, in late 2023, I published a video on YouTube titled “Joe

25   Biden – Honest Ad” in which I spliced together actual clips of Joe Biden suffering from

26   aphasia to demonstrate his diminished capacity to hold the office of President. See

27   https://www.youtube.com/watch?v=aRoR1wjf3kY&ab_channel=MrReagan.

28   Decl. of Christopher Kohls
       Case 2:24-cv-02527-JAM-CKD       Document 47-29      Filed 03/07/25   Page 4 of 7


1          10.    On July 26, 2024, I published on X, Rumble, and YouTube the Harris Parody

2    Video that became the target of Governor Newsom, AB 2839, and AB 2655. See Kohls

3    Complaint ¶¶ 5-11, 31-35.

4          11.    The Harris Video was the first time in a published political video I used AI-

5    generative technology to mimic the subject’s voice reading a script that I had written.

6          12.    Altogether, I published on X, Rumble, or YouTube six separate Harris

7    campaign parody videos during the 2024 election period that used AI technology to mimic

8    Kamala Harris’s voice reading text I had written: the Harris Parody Video; Kamala

9    Harris Ad PARODY 21; Kamala Harris Ad PARODY 32; Kamala Harris Ad PARODY 43;
10   and Kamala Harris Ad Parody 54, Kamala Parody Ad 6 “Friends of Diddy”5. None of
11   these videos contain the disclaimer required by AB 2839. These videos continue to be

12   available online to California residents and viewers of these videos include California

13   residents, like Governor Newsom.

14         13.    During this time, I published other parody videos as well, like one titled

15   “Elizabeth Warren Honest DNC Speech PARODY” in which I used the same technology

16   to mimic the voice of Elizabeth Warren to read commentary that I had written

17   responding to Warren’s own speech endorsing Harris at the August 2024 Democratic

18   National Convention. See

19   https://www.youtube.com/watch?v=axuak8SLPeE&ab_channel=MrReagan. I published

20   another parody video of a fictitious phone call between Kamala Harris and Tim Walz

21

22

23   1 https://rumble.com/v596gw5-kamala-harris-ad-parody-2.html?e9s=src_v1_upp.

24   2 https://rumble.com/v5ayd25-kamalas-new-ad-is-lit-parody.html?e9s=src_v1_upp.

25   3 https://www.youtube.com/watch?v=Zwj6Gy8lno0&ab_channel=MrReagan.

26   4 https://www.youtube.com/watch?v=eV3SNMD_-Q8&ab_channel=MrReagan.

27   5 https://www.youtube.com/watch?v=AXerA8GnuwQ

28   Decl. of Christopher Kohls
       Case 2:24-cv-02527-JAM-CKD        Document 47-29      Filed 03/07/25   Page 5 of 7


1    using the same technology. See Kamala/Tim Walz Phone Call PARODY6. And finally, I
2    also published a parody video of Governor Newsom defending California’s attempts to

3    censor satirical speech using the same technology. See Gavin Newsom Parody7.
4            14.   These videos are unusually realistic in several ways. The AI-generated

5    voices tend to be realistic and accurate reproductions of the subject’s voice and

6    mannerism of speaking. Additionally, I use real images and videos of the politicians.

7    What “gives away” that these videos are parodies are the absurd statements being made.

8            15.   As I attested to in my complaint, I intend to continue making and posting

9    videos of political figures and candidates using this same AI-generative technology during

10   future election seasons. See Kohls Complaint ¶ 92. I do not intend to publish these videos

11   with the disclaimer required by AB 2839.

12           16.   Although my intention is to satirize those candidates, I have seen numerous

13   persons, including the chief executive official of California, Gavin Newsom, claim that my

14   AI-generated videos are so realistic as to deceive viewers, reasonable and unreasonable

15   alike, into thinking that the political subject of my video actually said the words that I

16   present them as saying Governor Newsom’s public comments about my videos make clear

17   to me that he and many other government officials and advocacy groups in California

18   believe that AB 2839 and AB 2655 should be used to target the type of videos that I

19   make.

20           17.   For example, Rob Weissman, co-president of the advocacy group Public

21   Citizen claimed that “most people” would be deceived by my July 26 Harris video. “I’m

22   certain that most people looking at it don’t assume it’s a joke… precisely because it feeds

23   into preexisting themes that have circulated around her, most people will believe it to be

24   real.” Ali Swenson, A parody ad shared by Elon Musk clones Kamala Harris’ voice,

25

26   6 https://rumble.com/v5ab5x8-kamala-tim-walz-phone-call-parody.html?e9s=src_v1_upp.

27   7 https://www.youtube.com/watch?v=drWhPBarXQw.

28   Decl. of Christopher Kohls
       Case 2:24-cv-02527-JAM-CKD        Document 47-29      Filed 03/07/25    Page 6 of 7


1    raising concerns about AI in politics, AP (Jul. 29, 2024), available at

2    https://apnews.com/article/parody-ad-ai-harris-musk-x-misleading-

3    3a5df582f911a808d34f68b766aa3b8e

4    [https://web.archive.org/web/20240804001053/https://apnews.com/article/parody-ad-ai-

5    harris-musk-x-misleading-3a5df582f911a808d34f68b766aa3b8e].

6          18.    Multiple outlets issued “fact checks” about the July 26 Harris video,

7    including VERIFY, a team owned by TEGNA, the country’s largest owners of local

8    television stations. Erin Jones, Kamala Harris campaign ad shared by Elon Musk is not

9    real, VERIFY (Jul. 29, 2024), available at

10   https://www.verifythis.com/article/news/verify/social-media/kamala-harris-campaign-ad-

11   video-shared-by-elon-musk-is-manipulated-ai-fact-check/536-af978101-50d9-41eb-979b-

12   43f9cdbab01e [https://archive.ph/wip/BzTo3]; see also Ed Payne, Fact Check: Video Is

13   NOT Real Campaign Ad Using Kamala Harris’ Voice, It’s Deepfake, LEAD STORIES

14   (Jul. 29, 2024), available at https://leadstories.com/hoax-alert/2024/07/fact-check-video-is-

15   not-real-campaign-ad-using-kamala-harris-voice.html [https://archive.ph/xeRMi].

16         19.    Since I have filed my complaint, I have learned that others, such as

17   consolidated co-plaintiff Kelly Chang Rickert, have been chilled by California’s laws from

18   resharing my content. See Babylon Bee, LLC and Kelly Chang Rickert Verified

19   Complaint, Dkt. 21, ¶¶ 118-21.

20         20.    Deterring others from resharing my content inflicts a monetary harm on me

21   by limiting the reach of my posts. As discussed in my complaint (¶106), I earn my living

22   via monetization of my content on large online platforms. Monetization, in turn, depends

23   upon the number of users viewing and engaging with my content.

24         21.    Deterring others from resharing also inflicts a First Amendment injury on

25   me by limiting the total audience that sees my videos via large online platforms.

26         22.    If the government were to use AB 2839 and AB 2655 to target the type of

27   videos that I make—as Governor Newsome and others have suggested they should—the

28   Decl. of Christopher Kohls
Case 2:24-cv-02527-JAM-CKD   Document 47-29   Filed 03/07/25   Page 7 of 7
